Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA, PHOENIX DIVISION

Case number (if known)                                                         Chapter you are filing under:

                                                                               Chapter 7
                                                                                Chapter 11
                                                                                Chapter 12
                                                                                Chapter 13                                        Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       MICHAEL
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's          L.
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    ANDREWS
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-1671
     Individual Taxpayer
     Identification number
     (ITIN)




               Case 2:18-bk-00181-EPB
Official Form 101
                                           Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28
                                  Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                                Desc       page 1
                                           Main Document                  Page 1 of 15
Debtor 1   ANDREWS, MICHAEL L.                                                                         Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      I have not used any business name or EINs.                     I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 1641 E Grovers Ave
                                 Apt 7
                                 Phoenix, AZ 85022-2140
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Maricopa
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.



                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other           Over the last 180 days before filing this petition, I have
                                        district.                                                       lived in this district longer than in any other district.

                                       I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                Explain. (See 28 U.S.C. § 1408.)




               Case 2:18-bk-00181-EPB
Official Form 101
                                           Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28
                                  Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                              Desc        page 2
                                           Main Document                  Page 2 of 15
Debtor 1    ANDREWS, MICHAEL L.                                                                            Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                   Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for
     bankruptcy within the last
                                  No.
     8 years?                      Yes.
                                             District                                   When                             Case number
                                             District                                   When                             Case number
                                             District                                   When                             Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                   When                            Case number, if known



11. Do you rent your
    residence?
                                  No.         Go to line 12.

                                   Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                        bankruptcy petition.




              Case 2:18-bk-00181-EPB
Official Form 101
                                          Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28
                                 Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                                 Desc        page 3
                                          Main Document                  Page 3 of 15
Debtor 1    ANDREWS, MICHAEL L.                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?

     For a definition of small
                                     No.         I am not filing under Chapter 11.

     business debtor, see 11
     U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




               Case 2:18-bk-00181-EPB
Official Form 101
                                           Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28
                                  Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                                  Desc        page 4
                                           Main Document                  Page 4 of 15
Debtor 1    ANDREWS, MICHAEL L.                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
                                      Icounseling
                                           received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




               Case 2:18-bk-00181-EPB
Official Form 101
                                           Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28
                                  Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                                 Desc         page 5
                                           Main Document                  Page 5 of 15
Debtor 1    ANDREWS, MICHAEL L.                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                              No. Go to line 16b.
                                             Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                              Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that after
     any exempt property is
                                   Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                             paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses
     are paid that funds will be
                                             No
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities to                                                     $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be?                             $50,001 - $100,000
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ MICHAEL L. ANDREWS
                                   MICHAEL L. ANDREWS                                                 Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on     January 8, 2018                                    Executed on
                                                   MM / DD / YYYY                                                      MM / DD / YYYY




              Case 2:18-bk-00181-EPB
Official Form 101
                                          Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28
                                 Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                                   Desc       page 6
                                          Main Document                  Page 6 of 15
Debtor 1   ANDREWS, MICHAEL L.                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Matthew Hartley                                                   Date         January 8, 2018
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Matthew Hartley
                                Printed name

                                Hartley Law Center PLLC
                                Firm name


                                11225 N 28th Dr Ste B-103
                                Phoenix, AZ 85029-5606
                                Number, Street, City, State & ZIP Code

                                Contact phone    (602) 296-7900                                 Email address

                                014464
                                Bar number & State




              Case 2:18-bk-00181-EPB
Official Form 101
                                          Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28
                                 Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                                                  Desc         page 7
                                          Main Document                  Page 7 of 15
                                               Certificate Number: 00134-AZ-CC-030300915


                                                             00134-AZ-CC-030300915




                    CERTIFICATE OF COUNSELING

I CERTIFY that on December 13, 2017, at 1:09 o'clock PM MST, Michael
Andrews received from Cricket Debt Counseling, an agency approved pursuant to
11 U.S.C. § 111 to provide credit counseling in the District of Arizona, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   December 13, 2017                      By:      /s/Stephanie Brown


                                               Name: Stephanie Brown


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).


Case 2:18-bk-00181-EPB        Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28              Desc
                              Main Document    Page 8 of 15
ANDREWS, MICHAEL L.




            Ally Financial
            Attn: Bankruptcy
            PO Box 380901
            Bloomington, MN 55438-0901


            Ally Financial
            200 Renaissance Ctr
            Detroit, MI 48243-1300


            American Express
            PO Box 297871
            Fort Lauderdale, FL       33329-7871


            Amex
            Correspondence
            PO Box 981540
            El Paso, TX 79998-1540


            ARIZONA DEPARTMENT OF REVENUE
            1600 W Monroe St
            Phoenix, AZ 85007-2612


            Arizona Department of Transportation
            PO Box 2100
            Phoenix, AZ 85001-2100


            Bank of America
            NC4-105-03-14
            PO Box 26012
            Greensboro, NC 27420-6012




       Case 2:18-bk-00181-EPB   Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28   Desc
                                Main Document    Page 9 of 15
ANDREWS, MICHAEL L.




            Bank of America
            PO Box 982238
            El Paso, TX 79998-2238


            Bay Area Credit Servic
            4145 Shackleford Rd Ste
            Norcross, GA 30093-3540


            Bay Area Credit Services
            4145 Shackleford Rd Ste 330B
            Norcross, GA 30093-3540


            Capital One
            General Correspondence
            PO Box 30285
            Salt Lake City, UT 84130-0285


            Capital One
            Attn: General Correspondence/Bankruptcy
            PO Box 30285
            Salt Lake City, UT 84130-0285


            Capital One / Best B
            PO Box 30253
            Salt Lake City, UT 84130-0253


            Capital One Auto Finan
            3901 Dallas Pkwy
            Plano, TX 75093-7864




       Case 2:18-bk-00181-EPB   Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28   Desc
                                Main Document   Page 10 of 15
ANDREWS, MICHAEL L.




            Capital One Auto Finance
            Attn: General Correspondence/Bankruptcy
            PO Box 30285
            Salt Lake City, UT 84130-0285


            Capital One Bank USA
            15000 Capital One Dr
            Richmond, VA 23238-1119


            Cavalry Portfolio Serv
            PO Box 27288
            Tempe, AZ 85285-7288


            Cavalry Portfolio Services
            ATTN: Bankruptcy Department
            500 Summit Lake Dr Ste 400
            Valhalla, NY 10595-1340


            Certegy Check Services
            PO Box 30046
            Tampa, FL 33630-3046


            Chase Card
            PO Box 15298
            Wilmington, DE      19850-5298


            Chase Card Services
            Attn: Correspondence
            PO Box 15278
            Wilmington, DE 19850-5278




       Case 2:18-bk-00181-EPB   Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28   Desc
                                Main Document   Page 11 of 15
ANDREWS, MICHAEL L.




            Chase Mortgage
            3415 Vision Dr
            Columbus, OH 43219-6009


            Chase Mtg
            PO Box 24696
            Columbus, OH    43224-0696


            CHEXSYSTEMS
            CONSUMER RELATIONS
            7805 Hudson Rd Ste 100
            Saint Paul, MN 55125-1595


            Diamond Resorts Fs
            10600 W Charleston Blvd
            Las Vegas, NV 89135-1014


            EARLY WARNING SERVICES
            16552 N 90th St Ste 100
            Scottsdale, AZ 85260-1619


            Enhanced Recovery Co L
            8014 Bayberry Rd
            Jacksonville, FL 32256-7412


            Erc/Enhanced Recovery Corp
            Attn: Bankruptcy
            8014 Bayberry Rd
            Jacksonville, FL 32256-7412




       Case 2:18-bk-00181-EPB   Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28   Desc
                                Main Document   Page 12 of 15
ANDREWS, MICHAEL L.




            INTERNAL REVENUE SERVICE
            PO Box 7346
            Philadelphia, PA 19101-7346


            Ocean Beach Club LLC
            932 Laskin Rd
            Virginia Beach, VA 23451-3990


            OFFICE OF THE ATTORNEY GENERAL
            1275 W. WASHINGTON
            Phoenix, AZ 85007-0000


            Online Collections
            PO Box 1489
            Winterville, NC 28590-1489


            Online Information S
            PO Box 1489
            Winterville, NC 28590-1489


            Portfolio Recov Assoc
            120 Corporate Blvd Ste 100
            Norfolk, VA 23502-4952


            Portfolio Recovery
            PO Box 41067
            Norfolk, VA 23541-1067




       Case 2:18-bk-00181-EPB   Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28   Desc
                                Main Document   Page 13 of 15
ANDREWS, MICHAEL L.




            Santander Consumer USA
            PO Box 961245
            Fort Worth, TX 76161-0244


            Springleaf
            PO Box 64
            Evansville, IN      47701-0064


            STATE OF MICHIGAN
            PO Box 77437
            Detroit, MI 48277-0437


            Sunterra Financial Srv, Inc
            Attn: Bankruptcy
            3865 W Cheyenne Ave
            Las Vegas, NV 89135


            Syncb/Car Care Pep B
            PO Box 96060
            Orlando, FL 32896-5060


            Syncb/Car Care Pep Boy
            PO Box 965036
            Orlando, FL 32896-5036


            Syncb/Care Credit
            C/o
            PO Box 965036
            Orlando, FL 32896-5036




       Case 2:18-bk-00181-EPB   Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28   Desc
                                Main Document   Page 14 of 15
ANDREWS, MICHAEL L.




            Syncb/mont Wards
            PO Box 965005
            Orlando, FL 32896-5005


            Syncb/Pep Boys
            C/o
            PO Box 965036
            Orlando, FL 32896-5036


            Syncb/Pep Boys
            PO Box 96060
            Orlando, FL 32896-5060


            Syncb/Sams Club
            Attn: Bankruptcy
            PO Box 965060
            Orlando, FL 32896-5060


            Verizon
            Attn: Wireless Bankrupty Admin
            500 Technology Dr Ste 500
            Weldon Spring, MO 63304-2225


            Verizon Wireless/sou
            PO Box 650051
            Dallas, TX 75265-0051


            Wells Fargo Hm Mortgag
            8480 Stagecoach Cir
            Frederick, MD 21701-4747




       Case 2:18-bk-00181-EPB   Doc 1 Filed 01/08/18 Entered 01/08/18 14:07:28   Desc
                                Main Document   Page 15 of 15
